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The following constitutes the ruling of the court and has the force and effect therein described.




Signed February 24, 2022
______________________________________________________________________



                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

     In re:                                                 §
                                                            §    Case No. 21-31488-sgj11-V
     WATTSTOCK, LLC,                                        §
                                                            §    Chapter 11
              Debtor.                                       §    Subchapter V
                                                            §
                                                            §
     WATTSTOCK, LLC, Plaintiff,                             §    Adv. No. 21-3083
                                                            §
                     v.                                     §    Removed from the District Court
                                                            §    of Dallas County, Texas,
     ALTA POWER LLC, Defendant, Counter-Plaintiff,          §    116th Judicial District
     and  Third-Party Plaintiff,                            §
                                                            §    Cause No. DC-20-08331
                     v.                                     §
                                                            §
     WATTSTOCK, LLC, Counter-Defendant, and                 §
                                                            §
     GENERAL ELECTRIC INTERNATIONAL, INC.,                  §
     d/b/a GE POWER SERVICES, Third-Party                   §
     Defendant.                                             §

                                         SCHEDULING ORDER

              The parties represent that they have agreed to the terms of this Scheduling Order. It is

     hereby ORDERED that the following schedule of deadlines shall be in effect until further order



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of this Court:

        Date                                        Deadline

        2/28/2022         Deadline for motions to dismiss

        3/17/2022         Deadline for responses to motions to dismiss

        3/31/2022         Deadline for replies to motions to dismiss

        4/19/2022
                          Hearing on motions to dismiss
        1:30 p.m.



        30 days before
                          Parties to exchange limited discovery to aid in preparation
        scheduled
                          for mediation
        mediation

        14 days before
                          Production of documents responsive to limited discovery
        mediation

        14 days
        following final   Deadline for parties to file amended pleadings without leave
        order on MTD

        45 days
        following final   Complete mediation with agreed-upon neutral mediator
        order on MTD

        9/30/2022         Deadline for completion of all fact discovery

        10/7/2022         Deadline for disclosure of initial expert reports

        11/7/2022         Deadline for rebuttal expert reports

        11/15/2022        Deadline for completion of all expert discovery

        11/15/2022        Deadline for filing dispositive motions

        12/6/2022         Deadline for responses to dispositive motions

        12/6/2022         Deadline for filing motions to strike and Daubert motions

        12/20/2022        Deadline for replies to dispositive motions

        12/30/2022        Deadline for responses to Daubert motions



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      1/13/2023        Deadlines for replies to Daubert motions

      1/9/2023         Hearing regarding (i) outstanding motions, if any; and (ii)
                       whether case is ready for trial at district court
      1:30 p.m.


                             ### END OF ORDER ###


AGREED AS TO FORM:

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                                                   and

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